                IN THE DISTRICT COURT OF THE UNITED STATES
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             ASHEVILLE DIVISION
                                 1:07 cr 69-3


UNITED STATES OF AMERICA,                )
                                         )
Vs.                                      )                       ORDER
                                         )
BARRON SLOAN HENDERSON,                  )
                                         )
                  Defendant.             )
________________________________________ )


       THIS CAUSE coming on to be heard, pursuant to a motion filed by the defendant

entitled “Motion to Reconsider Detention Order” (#224) in which the defendant made a

request that the undersigned reconsider the order of detention orally entered by this court on

August 3, 2007 and later reduced to writing in an Order (# 43) filed on August 6, 2007.

From the evidence offered by the defendant and the evidence offered by the Government, the

undersigned makes the following findings:

       Findings.     The defendant’s attorney, Joseph B. Cheshire, V made a proffer of

evidence to the court which revealed that the defendant had been an almost life-long resident

of the Inman community of South Carolina. The defendant is married and has two minor

daughters, ages 13 and 10.     The defendant owns a minority interest in the defendant

Henderson Amusements, Inc. The defendant’s spouse is a school teacher at Spartanburg

Christian School in Spartanburg, SC.

       The defendant’s wife, Julie Henderson, testified that she would be willing to act as

a custodian for the defendant and that she would immediately advise the court if the



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defendant violated any terms of conditions of release.

       The Government responded in writing to the motion of the defendant in a pleading

entitled, “Government Response to Defendant’s Motion to Reconsider Detention Order”

(#232). In the response, the Government, through Richard Edwards, Assistant United States

Attorney, advises the court that the Government has discovered, through its investigation,

including debriefings of the majority of the co-defendants in the case, that the release of the

defendant would not create a risk of flight on the part of the defendant nor would his release

pose a danger to the community. Mr. Edwards further advised the undersigned that the

investigation had shown no evidence that this defendant was involved in the bribery of law

enforcement officials, including High Sheriff’s in the State of North Carolina. Mr. Edwards

advised the undersigned that it was the position of the Government that the court could

fashion conditions of release that would assure that the defendant would not pose a danger

to the safety of any other person or the community and further would not create a risk of

flight on the part of the defendant.

       The undersigned has reviewed and considered the written Order (#43) filed by the

undersigned on August 6, 2007 and incorporates such order by reference. It appears that the

defendant does not have any criminal record other than various traffic offenses, mostly

involving speeding. Further investigation by the Government has been performed in good

faith which now shows that the release of the defendant would not create a risk of flight nor

would his release create a danger to any person or the community..




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       Discussion. From the evidence offered by the defendant and the evidence offered

by the Government it now appears to the undersigned that there are terms and conditions of

pretrial release that can be fashioned whereby the release of the defendant can be

accomplished without creating a harm or danger to any other person or the community and

that would also preclude a risk of flight on the part of the defendant.

                                           ORDER

       IT IS, THEREFORE, ORDERED that the defendant’s motion for reconsideration

(#224) is hereby ALLOWED and             that the defendant be released on the terms and

conditions of pretrial release, subject to the conditions as set forth in an Order (#240)

releasing the defendant in this matter and which has now been signed by the defendant and

this court.




                                               Signed: October 11, 2007




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